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 5                         IN THE UNITED STATES DISTRICT COURT
 6                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
 8   UNITED STATES OF AMERICA,                 )     2:06-cr-441-GEB
                                               )
 9                      Plaintiff,             )
                                               )
10                v.                           )     ORDER
                                               )
11   JAVIER MUNOZ, et al.,                     )
                                               )
12                      Defendants.            )
                                               )
13
14                On February 1, 2008, counsel for Defendant Javier Munoz
15   filed an “Ex Parte Request Re: Order to Sacramento County Medical
16   Staff to Test Mr. Munoz’s Eyes to Determine the Prescription He Needs
17   for New Eyeglasses” and a proposed order thereon.            Since Defendant
18   Munoz has not shown that he contacted the U.S. Marshals Service prior
19   to making the ex parte request or that this is a matter that needs to
20   be decided by the assigned district judge, the proposed order will not
21   be signed.     If it is determined that judicial intervention is needed,
22   the matter should be addressed to the duty magistrate judge.
23                IT IS SO ORDERED.
24   Dated:     February 19, 2008
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26                                       GARLAND E. BURRELL, JR.
27                                       United States District Judge

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